                  CASE 0:22-cr-00159-WMW-TNL Doc. 9 Filed 06/30/22 Page 1 of 1

                                 IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                       )             COURT MINUTES - CRIMINAL
                                                )                 BEFORE: Becky R. Thorson
                        Plaintiff,              )                    U.S. Magistrate Judge
                                                )
 v.                                             )       Case No:           22-mj-530 BRT
                                                )       Date:              June 30, 2022
Shamir Nathann Black,                           )       Videoconference
                                                )       Time Commenced:    10:04 a.m.
                        Defendant.              )       Time Concluded:    11:06 a.m.
                                                )       Time in Court:     1 hour 2 minutes



         X PRELIMINARY/DETENTION HRG
            Time in Court Prelim/Det: [46 minutes/16 minutes]

APPEARANCES:

 Plaintiff: Bradley Endicott, Assistant U.S. Attorney
 Defendant: Ian Birrell
                 X CJA

On    X Complaint

X Deft Ordered Detained - Govt to submit proposed order

X Probable cause found. Deft bound over to District Court of Minnesota. Govt to submit proposed order.


Additional Information:
X Defendant consents to this hearing via video conference.
Jacquelyn Rosenow testified.



                                                                                                        s/nah
                                                                                Signature of Courtroom Deputy
